 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF TENNESSEE
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 ULTIMA SERVICES CORPORATION,                                                    :

         Plaintiff,                                                              :

                  -against-                                                      :    No. 2:20-cv-00041-
                                                                                      DCLC-CRW
 U.S. DEPARTMENT OF AGRICULTURE,                                                 :
 U.S. SMALL BUSINESS ADMINISTRATION,
 SECRETARY OF AGRICULTURE, and ADMINISTRATOR                                     :
 OF THE SMALL BUSINESS ADMINISTRATION,
                                                                                 :
         Defendants.
                                                                                  :
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                                  NOTICE OF RECENT AUTHORITY


         The parties jointly wish to bring the attached authority to the Court’s attention: Small

 Business Size Standards: Adjustment of Monetary-Based Size Standard, Disadvantage Thresholds,

 and 8(a) Eligibility Thresholds, 87 Fed. Reg. 69118 (Nov. 17, 2022). Among other things, the final

 rule adjusts the net worth, adjusted gross income, and total assets standards for “economic

 disadvantage” under the 8(a) program in 13 C.F.R. § 124.104(c) that are described in plaintiff’s

 moving memorandum in support of its motion for summary judgment. Doc. 60-2, PageID # 814.

 (The memo erroneously cites Section 124.104(b).) Under the adjusted standards, individuals will

 not be presumed “economically disadvantaged” if their net worth exceeds $ 850,000, their adjusted

 gross income exceeds $ 400,000, or their total assets exceeds $ 6.5 million. 87 FR at 69129, 69130

 (Table 4), and 69154.


 Respectfully submitted,


 /s/ Michael E. Rosman                                         KAREN WOODARD
 Michael E. Rosman                                             Chief
 Michelle A. Scott                                             Employment Litigation Section
 CENTER FOR INDIVIDUAL RIGHTS                                  Civil Rights Division
 1100 Connecticut Ave, NW, Ste. 625                            United States Department of Justice
 Washington, D.C. 20036
 (202) 833-8400



Case 2:20-cv-00041-DCLC-CRW                  Document 84           Filed 03/23/23     Page 1 of 2    PageID
                                                 #: 3196
 M. Dale Conder, Jr.                     ANDREW BRANIFF (IN Bar No. 23430-
 RAINEY KIZER REVIERE & BELL PLC               71)
 209 E. Main St.                         Deputy Chief
 Jackson, TN 38301
 (731) 426-8130                          By:      /s/ Juliet E. Gray
                                         Juliet E. Gray (D.C. Bar No. 985608)
 Counsel for Plaintiff                   Christine T. Dinan (D.C. Bar No. 979762)
                                         Senior Trial Attorneys
                                         Employment Litigation Section
                                         Civil Rights Division
                                         United States Department of Justice
                                         150 M Street, N.E.
                                         Washington, D.C. 20002
                                         (202) 598-1600
                                         Juliet.Gray@usdoj.gov
                                         Christine.Dinan@usdoj.gov

                                         Counsel for Defendants




                                     2


Case 2:20-cv-00041-DCLC-CRW   Document 84   Filed 03/23/23    Page 2 of 2     PageID
                                  #: 3197
